                      Case 4:20-cv-02254-YGR Document 121 Filed 03/28/22 Page 1 of 2


            1    HEATHER RICHARDSON, SBN 246517
                   hrichardson@gibsondunn.com
            2    LAUREN M. BLAS, SBN 296823
                   lblas@gibsondunn.com
            3    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            4    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            5    Facsimile: 213.229.7520
            6    GEOFFREY SIGLER (admitted pro hac vice)
                   gsigler@gibsondunn.com
            7    Gibson, Dunn & Crutcher LLP
                 1050 Connecticut Avenue, N.W.
            8    Washington, DC 20036-5306
                 Telephone: 202.995.8500
            9    Facsimile: 202.467.0539
          10
                 Attorneys for Defendants
          11     UNITED HEALTHCARE INSURANCE COMPANY
                 and UNITED BEHAVIORAL HEALTH
          12

          13
                                                 UNITED STATES DISTRICT COURT
          14
                                              NORTHERN DISTRICT OF CALIFORNIA
          15
                                                      SAN FRANCISCO DIVISION
          16
                 LD, DB, BW, RH, and CJ, on behalf of            Case No. 4:20-cv-02254-YGR-JCS
          17     themselves and all others similarly situated,
          18                            Plaintiffs,              UNITED DEFENDANTS’ REQUEST FOR
                                                                 LEAVE TO FILE EXHIBIT IN SUPPORT
          19            v.                                       OF JOINT LETTER SUBMISSION
                                                                 REGARDING DISCOVERY DISPUTE
          20     UNITED HEALTHCARE INSURANCE                     PURSUANT TO L.R. 7-11
                 COMPANY, a Connecticut Corporation,
          21     UNITED BEHAVIORAL HEALTH, a                     Hon. Joseph C. Spero
                 California Corporation, and MULTIPLAN,
          22     INC., a New York Corporation,
          23                            Defendants.
          24

          25

          26

          27

          28

Gibson, Dunn &        UNITED DEFENDANTS’ REQUEST FOR LEAVE TO FILE EXHIBIT IN SUPPORT OF JOINT LETTER
Crutcher LLP
                                        SUBMISSION REGARDING DISCOVERY DISPUTE
                                              CASE NO. 4:20-CV-2254-YGR-JCS
                       Case 4:20-cv-02254-YGR Document 121 Filed 03/28/22 Page 2 of 2


            1             Pursuant to Civil Local Rule 7-11, Defendants United Healthcare Insurance Company and
            2    United Behavioral Health (together, “United Defendants”) respectfully seek leave to file the
            3    Declaration of Rebecca Paradise (attached hereto as Exhibit 1 as an exhibit in support of United
            4    Defendants’ position in the parties’ Joint Letter Submission Regarding Discovery Dispute (Dkt. 120)
            5    (“Joint Letter”). As explained further in the Declaration of Lauren Blas (“Blas Decl.”) attached
            6    hereto, United Defendants could not obtain a stipulation from Plaintiffs to file the exhibit with the
            7    Joint Letter brief and now seek leave of court to file it separately. See Blas Decl., ¶ 3.
            8             United Defendants respectfully seek leave to file the Declaration of Rebecca Paradise as an
            9    exhibit to the Joint Letter because it provides necessary context and support for United Defendants’
          10     arguments regarding the limited redactions to irrelevant, commercially sensitive information in
          11     United Defendants’ production. This Court’s standing order generally permits the filing of exhibits
          12     with joint letter submissions. See, e.g., Meta Platforms v. Brandtotal Ltd., 2022 WL 93932 at *2
          13     (N.D. Cal. Jan. 10, 2022) (referencing exhibit filed with joint letter brief regarding discovery dispute)
          14     (Spero, J.). Moreover, the Declaration of Rebecca Paradise may be properly considered with the
          15     Parties’ Joint Letter, as a party declaration is often used to support confidentiality designations and
          16     assertions of competitive harm, both of which are at issue in the Joint Letter. See, e.g., Muench
          17     Photog., Inc. v. Pearson Educ., Inc., 2013 WL 4475900, at *4 (N.D. Cal. Aug. 15, 2013); see also
          18     AIS GmbH Aachen Innovative Sols. v. Thoratec LLC, 2021 WL 292173, at *3-4 (N.D. Cal. Jan. 28,
          19     2021).
          20              For the foregoing reasons, United Defendants respectfully request leave to file the Declaration
          21     of Rebecca Paradise as Exhibit 1 to the Joint Letter.
          22

          23     Dated: March 28, 2022                          Respectfully submitted,
          24                                                    By:       /s/ Lauren M. Blas
                                                                          Lauren M. Blas
          25                                                              GIBSON, DUNN & CRUTCHER LLP
          26                                                              Attorneys for Defendants UNITED
                                                                          HEALTHCARE INSURANCE COMPANY and
          27                                                              UNITED BEHAVIORAL HEALTH
          28
                                                                      2
Gibson, Dunn &        UNITED DEFENDANTS’ REQUEST FOR LEAVE TO FILE EXHIBIT IN SUPPORT OF JOINT LETTER
Crutcher LLP
                                        SUBMISSION REGARDING DISCOVERY DISPUTE
                                              CASE NO. 4:20-CV-2254-YGR-JCS
